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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
              v.                              :
                                              :        Case No.: 22-CR-0117 (RDM)
DONALD HAZARD,                                :
                                              :
                      Defendant.              :

                          GOVERNMENT’S NOTICE OF WITHDRAWAL

        The United States of America by and through its attorney, the United States Attorney

 for the District of Columbia, informs the Court that Assistant United States Attorney

 Jennifer Rozzoni, as counsel for the United States, is terminating her appearance as counsel

 of record in this matter. All other government counsel noted on the docket at the time of

 this filing will remain counsel for the United States

                                                       Respectfully Submitted,

                                                       MATTHEW M. GRAVES
                                                       UNITED STATES ATTORNEY
                                                       D.C. Bar No. 481052

                                              BY:__/s/ Jennifer M. Rozzoni_________________
                                                    JENNIFER M. ROZZONI
                                                    Assistant United States Attorney
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                                                    (505) 350-6818

                                CERTIFICATE OF SERVICE

       On this 7th day of February 2023, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.


                                                  BY: _____/s/____________________________
                                                      JENNIFER ROZZONI
                                                      Assistant United States Attorney
